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FILED

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IN THE UNITED STATES DISTRICT COURT Oe OS Oe na
FOR THE DISTRICT OF MONTANA Billings
BILLINGS DIVISION

 

UNITED STATES OF AMERICA, CR 20-127-BLG-SPW
Plaintiff,
vs. ORDER

TYLER NATHANIEL
PATTERSON,

Defendant.

 

 

Upon the United States’ Motion for Dismissal of Forfeiture Proceedings
(Doc. 6), and for good cause being shown,

IT IS HEREBY ORDERED that the forfeiture action in the above-captioned
case is DISMISSED with prejudice.

DATED this 9%” ~ day of November, 2020.

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SUSAN P. WATTERS
United States District Court Judge
